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                                   STATEMENT OF FACTS

        On Tuesday, June 2, 2020 at approximately 9:40 a.m., members of the Metropolitan Police
Department (MPD) Narcotics and Special Investigations Division (NSID) were driving in the 500
block of Newcomb Street, SE in Washington, D.C. Officers were wearing police uniforms and
operating a marked patrol vehicle. Officers Vaughn was driving the vehicle with Officer Tyler in
the front passenger seat and Officers Kelemen and Thompson were seated in the backseat.

        Officer Kelemen observed an individual later identified as Jerome Williams (Defendant
Williams) walking alone on the right side of the sidewalk towards the 600 block of Newcomb
Street. The defendant was swinging his right arm and his left hand was inside his left jacket pocket.
It looked to Officer Kelemen like the defendant was holding an object inside his left jacket pocket
with his left hand. When the officers drove by the defendant in the police vehicle, the defendant
immediately stopped walking. Officer Kelemen got out of the police vehicle. When he did so, the
defendant immediately raised both of his hands up in the air. Officer Kelemen asked Defendant
Williams if he had a weapon on him, and the defendant responded, “yeah.” Officer Kelemen then
patted down the left side of Defendant Williams’s jacket and felt what he immediately recognized
to be a pistol.

        Officers recovered a firearm from Defendant Williams’s left jacket pocket. The defendant
was placed under arrest. The firearm that was recovered was determined to be a Hi-Point Model
C-9 .9 millimeter semiautomatic handgun with a serial number of P1461119. When it was
recovered, it was loaded with one (1) round in the chamber and nine (9) rounds of ammunition in
the magazine. There are no firearm or ammunition manufacturers in the District of Columbia.
Therefore, the firearm and ammunition in this case would have traveled in interstate commerce
prior to being recovered in the District of Columbia.

        A criminal history check of Defendant Williams through the National Crime Information
Center (NCIC) confirmed that the defendant has a prior felony conviction in the Superior Court
for the District of Columbia for Possession with Intent to Distribute Heroin and Cocaine, case
number 2016 CF2 1771. The defendant was sentenced to eighteen (18) months of confinement
with fourteen (14) months suspended for this case on March 9, 2018. Therefore, the defendant
was aware at the time of his arrest in this case that he had a prior conviction for a crime
punishable by more than one year.


                                              _________________________________
                                              OFFICER CORNEL KELEMEN
                                              METROPOLITAN POLICE DEPARTMENT

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 3rd day of June, 2020.



                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE
